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                                    UNITED STATES DISTRICT COURT
                                FOR THE EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL BY THE OIL RIG                                  :          MDL NO. 2179
“DEEPWATER HORIZON” IN THE                                       :
GULF OF MEXICO, ON                                               :          SECTION J
APRIL 20, 2010                                                   :
                                                                 :          JUDGE BARBIER
THIS DOCUMENT RELATES TO:                                        :
                                                                 :          MAG. JUDGE SHUSHAN
Fish Commander, LLC v. BP, PLC, et al :
Civil Action No: 2-10-cv-01339                                   :
::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::

                                                             ORDER


          Considering the above and foregoing Motion to Withdraw as Counsel of Record,

          IT IS HEREBY ORDERED that Kristopher R. Kahao of Kleinpeter & Schwartzberg,

L.L.C., and Joseph E. Ritch, Joseph M. Dunn, and David L. Rumley of Wigington, Rumley,

Dunn & Ritch, L.L.P., Attorneys at Law, be and are hereby withdrawn as counsel of record for

Plaintiff, Fish Commander, LLC.

          NEW ORLEANS, LOUISIANA, this _____ day of _______________________, 2012.



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                                    UNITED STATES DISTRICT JUDGE
